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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

RICHARD DUHAIME, JAMES W. YODER,
DONNA M. YODER, THEODORE A. PECK,
JOHN SULLIVAN, and CLARISSA SULLIVAN,
on behalf of Themselves and All Others Similarly
Situated

Plaintiffs,

JOHN HANCOCK MUTUAL LIFE
INSURANCE COMPANY, JOHN HANCOCK
VARIABLE LIFE INSURANCE COMPANY,
and JOHN HANCOCK DISTRIBUTORS, INC.

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v. ) Civil Action No. 96-10706-RGS
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Defendants. )

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. ORDER ON MOTION OF JOHN HANCOCK LIFE INSURANCE
COMPANY (U.S.A.) TO ENFORCE THIS COURT’S RELEASE AND INJUNCTION
AGAINST DUHAIME CLASS MEMBER MICHAEL PARKER

Having considered the Motion of John Hancock Life Insurance Company (U.S.A.) to
enforce the Court’s release and injunction against Duhaime Class Member Michael Parker,
together with supporting and opposing papers, the Motion is ALLOWED, and this Court Tules as
follows:

1. On December 31, 1997, this Court entered a Final Order and Judgment (“Final

Judgment,” Docket No. 162) approving a class settlement of this case and entering a
release and permanent injunction forever extinguishing and barring class members

from filing, commencing, or prosecuting any lawsuit in any jurisdiction based on

released claims.
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2. This Court retains jurisdiction and authority to interpret and enforce the Final
Judgment.

3. Michael Parker (“Parker”) is a member of the Duhaime Class and is bound by the
Final Judgment.

4. Mr. Parker is violating the Final Judgment by prosecuting class claims in Parker v.
John Hancock Life Insurance Company (U.S.A), Case No. 202262578 (the “Parker
Action”) that fall within the scope of the release and permanent injunction.
Specifically, the release incorporated into this Court’s Final Judgment bars, among
other things, all claims by Duhaime Class Members relating to life insurance policies
issued from January 1, 1979 through December 31, 1996 that Parker has asserted in
the Parker Action.

5. To protect the jurisdiction and authority of this Court and to prevent any further
violation of its Final Judgment, the permanent injunction is specifically enforced
against Parker.

6. Parker is permanently enjoined from violating the Final Judgment, including but not
limited to seeking or continuing to prosecute claims in the Parker Action.

SO ORDERED.

Honorable Richard G. Stearns
